           Case 4:19-cv-02704 Document 1-1 Filed on 07/23/19 in TXSD Page 1 of 29




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                                                                                                     Transmittal Number: 19997511
Notice of Service of Process                                                                            Date Processed: 06/25/2019

Primary Contact:           Bruce Buttaro
                           Liberty Mutual Insurance Company
                           175 Berkeley Street
                           Boston, MA 02116

Entity:                                       Liberty Insurance Corporation
                                              Entity ID Number 2538339
Entity Served:                                Liberty Insurance Corporation
Title of Action:                              Terrance Posey vs. Liberty Insurance Corporation
Document(s) Type:                             Citation/Petition
Nature of Action:                             Contract
Court/Agency:                                 Harris County District Court, TX
Case/Reference No:                            201939257
Jurisdiction Served:                          Texas
Date Served on CSC:                           06/24/2019
Answer or Appearance Due:                     10:00 am Monday next following the expiration of 20 days after service
Originally Served On:                         CSC
How Served:                                   Personal Service
Sender Information:                           Noah M. Wexler
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                                                                                                                EXHIBIT A
Case 4:19-cv-02704 Document 1-1 Filed on 07/23/19 in TXSD Page 2 of 29
Case 4:19-cv-02704 Document 1-1 Filed on 07/23/19 in TXSD Page 3 of 29
Case 4:19-cv-02704 Document 1-1 Filed on 07/23/19 in TXSD Page 4 of 29
Case 4:19-cv-02704 Document 1-1 Filed on 07/23/19 in TXSD Page 5 of 29
Case 4:19-cv-02704 Document 1-1 Filed on 07/23/19 in TXSD Page 6 of 29
Case 4:19-cv-02704 Document 1-1 Filed on 07/23/19 in TXSD Page 7 of 29
Case 4:19-cv-02704 Document 1-1 Filed on 07/23/19 in TXSD Page 8 of 29
Case 4:19-cv-02704 Document 1-1 Filed on 07/23/19 in TXSD Page 9 of 29
Case 4:19-cv-02704 Document 1-1 Filed on 07/23/19 in TXSD Page 10 of 29
Case 4:19-cv-02704 Document 1-1 Filed on 07/23/19 in TXSD Page 11 of 29
Case 4:19-cv-02704 Document 1-1 Filed on 07/23/19 in TXSD Page 12 of 29
Case 4:19-cv-02704 Document 1-1 Filed on 07/23/19 in TXSD Page 13 of 29
Case 4:19-cv-02704 Document 1-1 Filed on 07/23/19 in TXSD Page 14 of 29
Case 4:19-cv-02704 Document 1-1 Filed on 07/23/19 in TXSD Page 15 of 29
Case 4:19-cv-02704 Document 1-1 Filed on 07/23/19 in TXSD Page 16 of 29
Case 4:19-cv-02704 Document 1-1 Filed on 07/23/19 in TXSD Page 17 of 29
Case 4:19-cv-02704 Document 1-1 Filed on 07/23/19 in TXSD Page 18 of 29
Case 4:19-cv-02704 Document 1-1 Filed on 07/23/19 in TXSD Page 19 of 29
Case 4:19-cv-02704 Document 1-1 Filed on 07/23/19 in TXSD Page 20 of 29
Case 4:19-cv-02704 Document 1-1 Filed on 07/23/19 in TXSD Page 21 of 29
Case 4:19-cv-02704 Document 1-1 Filed on 07/23/19 in TXSD Page 22 of 29
Case 4:19-cv-02704 Document 1-1 Filed on 07/23/19 in TXSD Page 23 of 29
Case 4:19-cv-02704 Document 1-1 Filed on 07/23/19 in TXSD Page 24 of 29
Case 4:19-cv-02704 Document 1-1 Filed on 07/23/19 in TXSD Page 25 of 29
Case 4:19-cv-02704 Document 1-1 Filed on 07/23/19 in TXSD Page 26 of 29
Case 4:19-cv-02704 Document 1-1 Filed on 07/23/19 in TXSD Page 27 of 29
Case 4:19-cv-02704 Document 1-1 Filed on 07/23/19 in TXSD Page 28 of 29
Case 4:19-cv-02704 Document 1-1 Filed on 07/23/19 in TXSD Page 29 of 29
